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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

  In re:
                                                      Case No. 20-10343 (LSS)
  BOY SCOUTS OF AMERICA AND
  DELAWARE BSA, LLC,                                  Chapter 11
                                                      (Jointly Administered)
                 Debtors.

  REPLY BRIEF IN FURTHER SUPPORT OF MOTION TO CHANGE ELECTION TO
      OPT INTO EXPEDITED PAYMENT/CONVENIENCE CLASS OR OTHER
               NECESSARY RELIEF ON BEHALF OF SURVIVOR
                       CLAIMANT R.N. [D.I. 11564]
       R.N., (“Movant”), by and through his undersigned counsel, hereby submit this reply brief in

further support of Movant’s application for change of his election so he is no longer in the expedited

payment/convenience class. In further support of the Motion, the Movant respectfully states as

follows:

       R.N.’s application is made for Ballot 46475. See Exhibit A, Declaration of Deborah K. Levy.

However, as two ballots were submitted by two different firms, R.N. was confused and he did not

mean to elect the $3500 expedited option.

       Trustee’s opposition argues that the language in the Plan, TDP and Solicitation Procedures

“does not permit claimants to change their elections of Expedited Distributions.” See Opposition, at

3. However, the Expedited Election section states in pertinent part that:

               d. Item 3 (Expedited Distribution Election). If the Plan is confirmed,
               if you have properly completed a non-duplicative proof of claim
               asserting a Direct Abuse Claim and filed such Claim by the Bar Date
               or were permitted by a Final Order of the Bankruptcy Court to file a
               late claim, you may elect in Item 3 to receive an Expedited
               Distribution, which, as specified in the Plan, is a one-time Cash
               payment from the Settlement Trust in the amount of $3,500.00
               conditioned upon satisfaction of the criteria set forth in the Trust
               Distribution Procedures, in exchange for a full and final release in
               favor of the Settlement Trust, the Protected Parties, and the Chartered
               Organizations. The Settlement Trust shall make the Expedited
               Distributions on one or more dates occurring on or as soon as

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                reasonably practicable after the latest to occur of (a) the Effective Date
                or (b) the date the applicable holders of Direct Abuse Claims who have
                elected to receive an Expedited Distribution have satisfied the criteria
                set forth in the Trust Distribution Procedures, and (c) the date upon
                which the Settlement Trust has sufficient Cash to fund the full amount
                of the Expedited Distributions while retaining sufficient Cash reserves
                to fund applicable Settlement Trust Expenses, as determined by the
                Settlement Trustee. This election must be made in Item 3 on a
                properly and timely completed and delivered Ballot.

                IF SELECTING THE $3,500 OPTION, YOU MUST INDICATE
                THIS ON THIS BALLOT. YOU WILL NOT BE ABLE TO
                CHOOSE THIS OPTION AT A LATER DATE UNLESS THE
                COURT APPROVES OTHERWISE.


See Motion, Exhibit 1, Ballot, at p. 19-20 (italics emphasis added). A plain reading of this section

sets forth that a claimant cannot opt into this election at a later date because you cannot “choose this

option at a later date.” The plain language reading would allow one to opt out, however. This opting

out is further authorized by the explanation that simply electing for an expedited payment is also

contingent on the exchange of a release for the sum of $3,500. To date, no release and no money

have been exchanged so no contract has been formed as it lacks consideration. The expedited

payment which was designed two years was designed to be a benefit to survivors, and not a trap to

mistakenly cheat sexual abuse survivors out of a fair and just recovery.

        The Bankruptcy Code was written to preserve, not forfeit, rights. The Trustee’s reading that

there is an inability to opt out of the expedited election is arguing there is a forfeiting of rights, despite

the plain language of the ballot, and therefore should be subject to an excusable neglect standard to

allow the interests of justice. Pioneer Investment Services Co. v. Brunswick Associates Ltd.

Partnership, 507 U.S. 380 (1993). Under this standard, “omissions caused by carelessness” constitute

neglect and an equitable determination should be made to consider excusable neglect looking at all

relevant circumstances. Id., at 1489. The Supreme Court’s four-part test to determine excusable

neglect the Court is to look at “the danger of prejudice to the debtor, the length of the delay and its
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potential impact on judicial proceedings, the reason for the delay, including whether it was within

the control of the movant, and whether the movant acted in good faith.” Id.

       Here, there is no prejudice to the debtor as the amount of funds for the Plan will not change

based on this opting out of the expedited election. Further it would not delay any processes or impact

judicial proceedings as this option out of the expedited election form merely places them into the

Matrix claim process. There is currently no deadline for the Matrix claim process and therefore the

logistics to change the portal from the expedited documents to Matrix claim process would not cause

any delay or impact on judicial proceedings. Any argument as to the economics needed to change a

portal and process from Expedited to Matrix are also outweighed by the prejudice which would

become these sexual abuse survivor claimants whose rights would not be preserved and some amount

of justice awarded.

       Further, Trustee argues that this would change hundreds of claims from Expedited to Matrix

or Independent Review options. See Opposition, at 3. However, the moving papers are about a

specific claimant, with specific issues, not the potential for numbers of claimants who have not filed

motions. Moreover, if there are hundreds who have contacted the Trustee about the mistaken

checking of the expedited election box, then this merely serves to highlight the confusion this section

caused to the claimants. And as the claimant did not draft this contract, the plain language reading

should in favor of the claimant.

       Also, the Trustee’s argument that she would be under the obligation to notify all expedited

election claimants of the right to change their election is without merit. The Trustee admits the

expedited process is not completed. If expedited claimants desired to change their election, they

should have moved to do so before the Court. Movant submits that the plain reading of the ballot

makes the expedited election one an individual can opt out of. However, even if the court does not

agree with this reading, the ballot does state on page 20 that “YOU WILL NOT BE ABLE TO

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CHOOSE THIS OPTION AT A LATER DATE UNLESS THE COURT APPROVES

OTHERWISE.” See Motion, Exhibit A, at p. 20. Accordingly, individuals were on notice they could

seek to change the option by court application and further notification is not necessary.

       Finally, even if the expedited election was offered and tentatively accepted, there has been

 no consideration given to form a binding contract. No release has been executed and no money

 exchanged. Therefore, balancing the equities, the Motion should be granted in the interests of

 justice.

            WHEREFORE, Movant requests that R.N. be permitted to modify his ballot where he

 mistakenly opted into the $3,500.00 expedited payment/convenience class to retract that election

 in order to fully participate in the Matrix Standard Review or the Independent Review Option

 available under the Plan and provide Movant such other relief as is just and proper.


Dated: November 13, 2023                              GELLERT SCALI BUSENKELL &
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